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Nghia Hoang Pho FEB 44 2018

Reg. No. 64014-037 .

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Clerk of Court

U.S. District Court

101 West Lombard Street

Room 4415

Baltimore, MD 21201-2605 , .

Re: Case No. GLR-1-17-CR-00631-001

Dear Clerk,

I am the defendant in the above referenced case. I am requesting that you send me
a copy of the Docket Sheet for my case. Thank you for your attention to my
request. I hope to hear from you at your earliest convenience.

Sin ly,

ee _-

Nghia Hoang Pho
